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7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )         CR. NO. S-02-366 LKK
                                      )
12             Plaintiff,             )         ORDER RE: SCHEDULING
                                      )         STATUS CONFERENCE AND
13        v.                          )         EXCLUDING TIME UNDER
                                      )         THE SPEEDY TRIAL ACT
14   JAIME GUERRA ROSAS,              )
                                      )         DATE: July 12, 2005
15             Defendant.             )         TIME: 9:30 a.m.
     _________________________________)         CTRM: Hon. Lawrence K. Karlton
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17         On May 24, 2005, the Court held a status conference in this
18   case.   Assistant United States Attorney William S. Wong appeared on
19   behalf of plaintiff, United States of America.          Dina Santos, Esq.,
20   appeared with defendant Jaime Guerra Rosas, who was in custody.
21         At the request of the defendant, this Court granted a
22   continuance for a further status conference on July 12, 2005, at
23   9:30 a.m.    The Court further excluded time from May 24, 2005, to,
24   and including, July 12, 2005, from computation of time within which
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26   ///
27   ///
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1    the trial of this case must be commenced pursuant Local Code T4 (to
2    allow the defense counsel reasonable time to prepare).
3    DATED: June 6, 2005                       McGREGOR W. SCOTT
                                               United States Attorney
4
5                                        By:    /s/ William S. Wong
                                               WILLIAM S. WONG
6                                              Assistant U.S. Attorney
7
8                                       O R D E R
9    IT IS SO ORDERED
10   DATED:    June 7, 2005.                   /s/Lawrence K. Karlton
                                               HON. LAWRENCE K. KARLTON
11                                             United States District Judge
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